                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 1 of 23



                1    Deverie Christensen, Bar No. 6596
                     christensend@jacksonlewis.com
                2    Phillip Thompson, Bar No. 12114
                     phillip.thompson@jacksonlewis.com
                3    JACKSON LEWIS P.C.
                     3800 Howard Hughes Parkway, Suite 600
                4    Las Vegas, Nevada 89169
                     Tel: (702) 921-2460
                5    Fax: (702) 921-2461
                     Attorneys for Defendant
                6    AffinityLifeStyles.com

                7
                                                  UNITED STATES DISTRICT COURT
                8
                                                          DISTRICT OF NEVADA
                9
                     LISA MARIE BAILEY, an individual;
              10                                                     CASE NO.: 2:16-cv-02684-JAD-VCF
                                    Plaintiff,
              11                                                     DEFENDANT’S ANSWER TO PLAINTIFF’S
                            v.                                       COMPLAINT
              12
                     AFFINITYLIFESTYLES.COM, INC.
              13     d/b/a REAL ALKALIZED WATER, a
                     Nevada corporation; DOES I-X; and ROE
              14     BUSINESS ENTITIES I-X, inclusive,
              15                    Defendants.
              16
                            Defendant AffinityLifeStyles.com, Inc. dba Real Alkalized Water, by and through its
              17
                     counsel of record, Jackson Lewis P.C., answers Plaintiff Lisa Marie Bailey’s ("Plaintiff")
              18
                     Complaint as set forth below.
              19
                                 JURISDICTION, VENUE AND LEGAL BASIS FOR THIS ACTION
              20
                            1.      Responding to Paragraph 1 of Plaintiff's Complaint, Defendant admits this action
              21
                     is brought pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e et. seq., and that
              22
                     the Court possesses jurisdiction to entertain this matter pursuant to 28 U.S.C. 1331, but denies
              23
                     any wrongdoing or violations of these laws.
              24
                            2.      Responding to Paragraph 2 of Plaintiff's Complaint, Defendant admits that venue
              25
                     is proper in this judicial district, but denies any acts or omissions giving rise to any claims.
              26
                            3.      Defendant admits the allegations in Paragraph 3 of Plaintiff’s Complaint.
              27
                            4.      Defendant admits the allegations in Paragraph 4 of Plaintiff’s Complaint.
              28
JACKSON LEWIS P.C.
    LAS VEGAS
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 2 of 23



                1            5.     Defendant denies the allegations in Paragraph 5 of Plaintiff’s Complaint.

                2            6.     Defendant denies the allegations in Paragraph 6 of Plaintiff’s Complaint.

                3            7.     Defendant denies the allegations in Paragraph 7 of Plaintiff’s Complaint.

                4            8.     Defendant denies the allegations in Paragraph 8 of Plaintiff’s Complaint.

                5            9.     Defendant is without knowledge or information sufficient to admit or deny the

                6    allegations contained in Paragraph 9 of Plaintiff’s Complaint and therefore denies the same on

                7    that basis.

                8            10.    Responding to Paragraph 10 of Plaintiff’s Complaint, Defendant admits that

                9    Plaintiff alleged facts in an EEOC filing claiming that Defendant subjected Plaintiff to

              10     discriminatory treatment based on religion, age, sex, disability, and equal pay, but Defendant

              11     denies those allegations in their entirety.

              12             11.    Defendant is without knowledge or information sufficient to admit or deny the

              13     allegations contained in Paragraph 11 of Plaintiff’s Complaint and therefore denies the same on

              14     that basis.

              15             12.    Defendant is without knowledge or information sufficient to admit or deny the

              16     allegations contained in Paragraph 12 of Plaintiff’s Complaint and therefore denies the same on

              17     that basis.

              18                                                   PARTIES

              19             13.    Defendant is without knowledge or information sufficient to admit or deny the

              20     allegations contained in Paragraph 13 of Plaintiff’s Complaint and therefore denies the same on

              21     that basis.

              22             14.    Defendant admits the allegations in Paragraph 14 of Plaintiff’s Complaint.

              23             15.    Defendant admits the allegations in Paragraph 15 of Plaintiff’s Complaint.

              24             16.    Defendant is without knowledge or information sufficient to admit or deny the

              25     allegations contained in Paragraph 16 of Plaintiff’s Complaint and therefore denies the same on

              26     that basis.

              27                                        GENERAL ALLEGATIONS

              28             17.    Defendant admits the allegations in Paragraph 17 of Plaintiff’s Complaint.

JACKSON LEWIS P.C.
    LAS VEGAS                                                        -2-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 3 of 23



                1           18.     Defendant denies the allegations in Paragraph 18 of Plaintiff’s Complaint.

                2           19.     Defendant denies the allegations in Paragraph 19 of Plaintiff’s Complaint.

                3           20.     Responding to Paragraph 20 of Plaintiff’s Complaint, Defendant admits that it

                4    offered raises for employees who participated in optional training courses, some of which were

                5    authored or based on works by L. Ron Hubbard, but Defendant denies that any of the optional

                6    courses contained Scientology-related messages or undertones.

                7           21.     Responding to Paragraph 21 of Plaintiff’s Complaint, Defendant admits that some

                8    of the courses approved and disseminated by Defendant were created or promoted by the World

                9    Institute of Scientology Enterprises (“WISE”) and Defendant did not attempt to conceal this fact,

              10     but Defendant denies the remaining allegations contained in this Paragraph.

              11            22.     Defendant admits the allegations in Paragraph 22 of Plaintiff’s Complaint.

              12            23.     Responding to Paragraph 23 of Plaintiff’s Complaint, Defendant is without

              13     knowledge or information sufficient to admit or deny what Plaintiff expected, but denies that it

              14     has an established religious culture amongst its employees or forces new employees to watch

              15     religious videos in exchange for pay raises.

              16            24.     Defendant denies the allegations in Paragraph 24 of Plaintiff’s Complaint.

              17            25.     Responding to Paragraph 25 of Plaintiff’s Complaint, Defendant admits that

              18     Plaintiff earned $15.00 per hour while employed with Defendant, but denies the remaining

              19     allegations contained in this Paragraph.

              20            26.     Defendant denies the allegations in Paragraph 26 of Plaintiff’s Complaint.

              21            27.     Responding to Paragraph 27 of Plaintiff’s Complaint, Defendant admits that

              22     Defendant placed Plaintiff on paid administrative leave approximately two weeks into her

              23     employment and changed her position from Human Resources Director to Human Resources

              24     Assistant / Director with no change in pay. Defendant denies the remaining allegations contained

              25     in this Paragraph.

              26            28.     Defendant denies the allegations contained in Paragraph 28 of Plaintiff’s

              27     Complaint.

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                       -3-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 4 of 23



                1            29.    Responding to Paragraph 29 of Plaintiff’s Complaint, Defendant admits that it

                2    hired a Human Resources Director on or about on April 19, 2016.             Defendant denies the

                3    remaining allegations contained in this Paragraph.

                4            30.    Responding to Paragraph 30 of Plaintiff’s Complaint, Defendant admits that it

                5    changed Plaintiff’s position to Human Resources Assistant / Director with the same pay rate of

                6    $15.00 per hour upon Plaintiff’s return from her paid administrative leave. Defendant denies the

                7    remaining allegations contained in this Paragraph.

                8            31.    Responding to Paragraph 31 of Plaintiff’s Complaint, Defendant admits that it

                9    hired Frank Consiglio as Human Resources Director on April 19, 2016. Defendant denies the

              10     remaining allegations contained in this Paragraph.

              11             32.    Defendant denies the allegations contained in Paragraph 32 of Plaintiff’s

              12     Complaint.

              13             33.    Responding to Paragraph 33 of Plaintiff’s Complaint, Defendant admits that the

              14     job description of Human Resources Assistant / Director included a goal to be offered the Human

              15     Resources Director Position, but denies that it made any promises to Plaintiff. Defendant is

              16     without knowledge or information sufficient to admit or deny the remaining allegations contained

              17     in Paragraph 33 of Plaintiff’s Complaint and therefore denies the same on that basis.

              18             34.    Responding to Paragraph 34 of Plaintiff’s Complaint, Defendant admits it put

              19     Plaintiff in charge of signing up employees for optional training courses. Defendant denies the

              20     remaining allegations contained in this Paragraph.

              21             35.    Defendant denies the allegations contained Paragraph 35 of Plaintiff’s Complaint.

              22             36.    Defendant denies the allegations contained Paragraph 36 of Plaintiff’s Complaint.

              23             37.    Defendant denies the allegations contained Paragraph 37 of Plaintiff’s Complaint.

              24             38.    Defendant is without knowledge or information sufficient to admit or deny the

              25     allegations contained in Paragraph 38 of Plaintiff’s Complaint and therefore denies the same on

              26     that basis.

              27             39.    Defendant denies the allegations contained Paragraph 39 of Plaintiff’s Complaint.

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                       -4-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 5 of 23



                1            40.    Defendant is without knowledge or information sufficient to admit or deny the

                2    allegations contained in Paragraph 40 of Plaintiff’s Complaint and therefore denies the same on

                3    that basis. Furthermore, Defendant avers that the phrase “substantially limited her major life

                4    activities” calls for a legal conclusion and requires no response; to the extent the court deems

                5    otherwise, Defendant denies the allegations.

                6            41.    Defendant denies the allegations contained Paragraph 41 of Plaintiff’s Complaint.

                7            42.    Defendant denies the allegations contained Paragraph 42 of Plaintiff’s Complaint.

                8            43.    Defendant denies the allegations contained Paragraph 43 of Plaintiff’s Complaint.

                9            44.    Defendant denies the allegations contained Paragraph 44 of Plaintiff’s Complaint.

              10             45.    Defendant denies the allegations contained Paragraph 45 of Plaintiff’s Complaint.

              11             46.    Defendant denies the allegations contained Paragraph 46 of Plaintiff’s Complaint.

              12             47.    Defendant is without knowledge or information sufficient to admit or deny the

              13     allegations contained in Paragraph 47 of Plaintiff’s Complaint and therefore denies the same on

              14     that basis.

              15             48.    Defendant is without knowledge or information sufficient to admit or deny the

              16     allegations contained in Paragraph 48 of Plaintiff’s Complaint and therefore denies the same on

              17     that basis.

              18             49.    Defendant is without knowledge or information sufficient to admit or deny the

              19     allegations contained in Paragraph 49 of Plaintiff’s Complaint and therefore denies the same on

              20     that basis.

              21             50.    Responding to Paragraph 50 of Plaintiff’s Complaint, Defendant admits that

              22     Plaintiff informed Mr. Consiglio via text message on June 9, 2016. The text message referenced

              23     therein speaks for itself and to the extent that Plaintiff misrepresents its contents, Defendant

              24     denies the same. Defendant is without knowledge or information sufficient to admit or deny the

              25     remaining allegations contained in this Paragraph and therefore denies the same on that basis.

              26             51.    Defendant denies the allegations in Paragraph 51.

              27             52.    Responding to Paragraph 52 of Plaintiff’s Complaint, Defendant admits that

              28     Plaintiff requested additional time off work but denies that Mr. Consiglio demanded that Plaintiff

JACKSON LEWIS P.C.
    LAS VEGAS                                                       -5-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 6 of 23



                1    provide him with a new doctor’s note every three days until she came back to work. Defendant is

                2    without knowledge or information sufficient to admit or deny the remaining allegations contained

                3    in this Paragraph and therefore denies the same on that basis.

                4             53.     Responding to Paragraph 53 of Plaintiff’s Complaint, Defendant admits that Mr.

                5    Consiglio recommended Plaintiff to go to an urgent care center in June of 2016 when she

                6    informed him that she was too ill to work and could not get a doctor’s appointment until August

                7    of 2016.       Defendant denies that Mr. Consiglio ordered Plaintiff to go to an urgent care.

                8    Defendant is without knowledge or information sufficient to admit or deny the remaining

                9    allegations contained in this Paragraph and therefore denies the same on that basis.

              10              54.     Defendant is without knowledge or information sufficient to admit or deny the

              11     allegations contained Paragraph 54 of Plaintiff’s Complaint and therefore denies the same on that

              12     basis.

              13              55.     Responding to Paragraph 55 of Plaintiff’s Complaint, Defendant admits that Mr.

              14     Consiglio communicated with Plaintiff via text message on or about June 14, 2016 and avers that

              15     the text message referenced therein speaks for itself and to the extent that Plaintiff misrepresents

              16     its contents, Defendant denies the same.       Defendant is without knowledge or information

              17     sufficient to admit or deny the remaining allegations contained in this Paragraph and avers that

              18     the phrase “intruded on her medical privacy” calls for a legal conclusion and requires no

              19     response; to the extent the court deems otherwise, Defendant denies the allegations on those

              20     bases.

              21              56.     Responding to Paragraph 56 of Plaintiff’s Complaint, Defendant admits that

              22     Plaintiff emailed Mr. Consiglio, Brent Jones, and Blane Jones on June 14, 2016. Defendant avers

              23     that documentation referenced therein speaks for itself and to the extent that Plaintiff

              24     misrepresents its contents, Defendant denies the same. Defendant is without knowledge or

              25     information sufficient to admit or deny that Plaintiff was “feeling like she had to explain her

              26     medical situation once again,” and therefore denies the same on that basis. Defendant denies the

              27     remaining allegations contained in Paragraph 56 of Plaintiff’s Complaint.

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                        -6-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 7 of 23



                1             57.   Responding to Paragraph 57 of Plaintiff’s Complaint, Defendant admits that while

                2    Plaintiff was out on a leave of absence, Mr. Consiglio asked for passwords and course files and

                3    that Plaintiff refused to provide the requested information. Defendant is without knowledge or

                4    information sufficient to admit or deny the remaining allegations contained in Paragraph 57 and

                5    therefore denies the same on that basis.

                6             58.   Responding to Paragraph 58 of Plaintiff’s Complaint, Defendant admits that Mr.

                7    Consiglio issued a “Non-Optimum Report” on June 14, 2016, speaks for itself and to the extent

                8    that Plaintiff misrepresents its contents, Defendant denies the same.

                9             59.   Defendant is without knowledge or information sufficient to admit or deny the

              10     allegations contained Paragraph 59 of Plaintiff’s Complaint and therefore denies the same on that

              11     basis.

              12              60.   Defendant denies the allegations contained in Paragraph 60 of Plaintiff’s

              13     Complaint.

              14              61.   Defendant denies the allegations contained in Paragraph 61 of Plaintiff’s

              15     Complaint.

              16              62.   Defendant denies the allegations contained in Paragraph 62 of Plaintiff’s

              17     Complaint.

              18              63.   Defendant denies the allegations contained in Paragraph 63 of Plaintiff’s

              19     Complaint.

              20              64.   Defendant denies the allegations contained in Paragraph 64 of Plaintiff’s

              21     Complaint.

              22              65.   Defendant denies the allegations contained in Paragraph 65 of Plaintiff’s

              23     Complaint.

              24              66.   Responding to Paragraph 66 of Plaintiff’s Complaint, Defendant admits it has been

              25     sued for religious discrimination once before. Defendant denies that any employee or former

              26     employee has suffered adverse actions for refusing to participate in optional coursework and that

              27     Defendant has ever offered religious-based coursework.

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                        -7-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 8 of 23



                1           67.     Defendant denies the allegations contained in Paragraph 67 of Plaintiff’s

                2    Complaint.

                3                                    FIRST CLAIM FOR RELIEF

                4           Alleged Violation of Title VII of the Civil Rights Act; 42 U.S.C. § 2000e et. seq.

                5                                   (Unlawful Employment Practice)

                6           68.     Responding to Paragraph 68 of Plaintiff’s Complaint, Defendant repeats and re-

                7    alleges each and every response made in the paragraphs above, as though set forth fully herein.

                8           69.     Defendant denies the allegations contained in Paragraph 69 of Plaintiff’s

                9    Complaint.

              10            70.     Defendant denies the allegations contained in Paragraph 70 of Plaintiff’s

              11     Complaint.

              12            71.     Defendant denies the allegations contained in Paragraph 71 of Plaintiff’s

              13     Complaint.

              14            72.     Defendant denies the allegations contained in Paragraph 72 of Plaintiff’s

              15     Complaint.

              16            73.     Defendant denies the allegations contained in Paragraph 73 of Plaintiff’s

              17     Complaint.

              18            74.     Defendant denies the allegations contained in Paragraph 74 of Plaintiff’s

              19     Complaint.

              20            75.     Defendant denies the allegations contained in Paragraph 75 of Plaintiff’s

              21     Complaint.

              22                                    SECOND CLAIM FOR RELIEF

              23            Alleged Violation of Title VII of the Civil Rights Act; 42 U.S.C. § 2000e et. seq.

              24                          (Intentional Discrimination – Disparate Treatment)

              25            76.     Responding to Paragraph 76 of Plaintiff’s Complaint, Defendant repeats and re-

              26     alleges each and every response made in the paragraphs above, as though set forth fully herein.

              27            77.     Defendant denies the allegations contained in Paragraph 77 of Plaintiff’s

              28     Complaint.

JACKSON LEWIS P.C.
    LAS VEGAS                                                       -8-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 9 of 23



                1           78.    Defendant denies the allegations contained in Paragraph 78 of Plaintiff’s

                2    Complaint.

                3           79.    Defendant denies the allegations contained in Paragraph 79 of Plaintiff’s

                4    Complaint.

                5           80.    Defendant denies the allegations contained in Paragraph 80 of Plaintiff’s

                6    Complaint.

                7           81.    Defendant denies the allegations contained in Paragraph 81 of Plaintiff’s

                8    Complaint.

                9           82.    Defendant denies the allegations contained in Paragraph 82 of Plaintiff’s

              10     Complaint.

              11            83.    Defendant denies the allegations contained in Paragraph 83 of Plaintiff’s

              12     Complaint.

              13            84.    Defendant denies the allegations contained in Paragraph 84 of Plaintiff’s

              14     Complaint.

              15            85.    Defendant denies the allegations contained in Paragraph 85 of Plaintiff’s

              16     Complaint.

              17                                     THIRD CLAIM FOR RELIEF

              18            Alleged Violation of Title VII of the Civil Rights Act; 42 U.S.C. § 2000e et. seq.

              19                       (Intentional Discrimination – Hostile Work Environment)

              20            86.    Responding to Paragraph 86 of Plaintiff’s Complaint, Defendant repeats and re-

              21     alleges each and every response made in the paragraphs above, as though set forth fully herein.

              22            87.    Defendant denies the allegations contained in Paragraph 87 of Plaintiff’s

              23     Complaint.

              24            88.    Defendant denies the allegations contained in Paragraph 88 of Plaintiff’s

              25     Complaint.

              26            89.    Defendant denies the allegations contained in Paragraph 89 of Plaintiff’s

              27     Complaint.

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                       -9-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 10 of 23



                1           90.      Defendant denies the allegations contained in Paragraph 90 of Plaintiff’s

                2    Complaint.

                3           91.      Defendant denies the allegations contained in Paragraph 91 of Plaintiff’s

                4    Complaint.

                5           92.      Defendant denies the allegations contained in Paragraph 92 of Plaintiff’s

                6    Complaint.

                7           93.      Defendant denies the allegations contained in Paragraph 93 of Plaintiff’s

                8    Complaint.

                9           94.      Defendant denies the allegations contained in Paragraph 94 of Plaintiff’s

              10     Complaint.

              11            95.      Defendant denies the allegations contained in Paragraph 95 of Plaintiff’s

              12     Complaint.

              13            96.      Defendant denies the allegations contained in Paragraph 96 of Plaintiff’s

              14     Complaint.

              15            97.      Defendant denies the allegations contained in Paragraph 97 of Plaintiff’s

              16     Complaint.

              17            98.      Defendant denies the allegations contained in Paragraph 98 of Plaintiff’s

              18     Complaint.

              19                                         FOURTH CLAIM FOR RELIEF

              20                  Alleged Violation of Title VII of the Civil Rights Act; 42 U.S.C. § 2000e et. seq.

              21                                                    (Retaliation)

              22            99.      Responding to Paragraph 99 of Plaintiff’s Complaint, Defendant repeats and re-

              23     alleges each and every response made in the paragraphs above, as though set forth fully herein.

              24            100.     Defendant denies the allegations contained in Paragraph 100 of Plaintiff’s

              25     Complaint.

              26            101.     Defendant denies the allegations contained in Paragraph 101 of Plaintiff’s

              27     Complaint.

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                        -10-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 11 of 23



                1           102.    Defendant denies the allegations contained in Paragraph 102 of Plaintiff’s

                2    Complaint.

                3           103.    Defendant denies the allegations contained in Paragraph 103 of Plaintiff’s

                4    Complaint.

                5           104.    Defendant denies the allegations contained in Paragraph 104 of Plaintiff’s

                6    Complaint.

                7           105.    Defendant denies the allegations contained in Paragraph 105 of Plaintiff’s

                8    Complaint.

                9           106.    Defendant denies the allegations contained in Paragraph 106 of Plaintiff’s

              10     Complaint.

              11            107.    Defendant denies the allegations contained in Paragraph 107 of Plaintiff’s

              12     Complaint.

              13            108.    Defendant denies the allegations contained in Paragraph 108 of Plaintiff’s

              14     Complaint.

              15            109.    Defendant denies the allegations contained in Paragraph 109 of Plaintiff’s

              16     Complaint.

              17                                     FIFTH CLAIM FOR RELIEF

              18                                  Alleged Nevada State Law Violation

              19                         (Violation of NRS 613.330 – Religious Discrimination)

              20            110.    Responding to Paragraph 110 of Plaintiff’s Complaint, Defendant repeats and re-

              21     alleges each and every response made in the paragraphs above, as though set forth fully herein.

              22            111.    Defendant denies the allegations contained in Paragraph 111 of Plaintiff’s

              23     Complaint.

              24            112.    Defendant denies the allegations contained in Paragraph 112 of Plaintiff’s

              25     Complaint.

              26            113.    Defendant denies the allegations contained in Paragraph 113 of Plaintiff’s

              27     Complaint.

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                       -11-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 12 of 23



                1                                    SIXTH CLAIM FOR RELIEF

                2                                 Alleged Nevada State Law Violation

                3                                          (Tortious Discharge)

                4           114.    Responding to Paragraph 114 of Plaintiff’s Complaint, Defendant repeats and re-

                5    alleges each and every response made in the paragraphs above, as though set forth fully herein.

                6           115.    Defendant denies the allegations contained in Paragraph 115 of Plaintiff’s

                7    Complaint.

                8           116.    Defendant denies the allegations contained in Paragraph 116 of Plaintiff’s

                9    Complaint.

              10            117.    Defendant denies the allegations contained in Paragraph 117 of Plaintiff’s

              11     Complaint.

              12            118.    Defendant denies the allegations contained in Paragraph 118 of Plaintiff’s

              13     Complaint.

              14                                   SEVENTH CLAIM FOR RELIEF

              15           Alleged Violation of Title I of the American With Disabilities Amendments Act;

              16                                        42 U.S.C. §§ 12101 et. seq.

              17                                       (Disability Discrimination)

              18            119.    Responding to Paragraph 119 of Plaintiff’s Complaint, Defendant repeats and re-

              19     alleges each and every response made in the paragraphs above, as though set forth fully herein.

              20            120.    Defendant denies the allegations contained in Paragraph 120 of Plaintiff’s

              21     Complaint.

              22            121.    Defendant denies the allegations contained in Paragraph 121 of Plaintiff’s

              23     Complaint.

              24            122.    Defendant denies the allegations contained in Paragraph 122 of Plaintiff’s

              25     Complaint.

              26            123.    Defendant denies the allegations contained in Paragraph 123 of Plaintiff’s

              27     Complaint.

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                       -12-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 13 of 23



                1            124.   Defendant denies the allegations contained in Paragraph 124 of Plaintiff’s

                2    Complaint.

                3            125.   Defendant denies the allegations contained in Paragraph 125 of Plaintiff’s

                4    Complaint.

                5            126.   Defendant denies the allegations contained in Paragraph 126 of Plaintiff’s

                6    Complaint.

                7            127.   Defendant denies the allegations contained in Paragraph 127 of Plaintiff’s

                8    Complaint.

                9            128.   Defendant is without knowledge or information sufficient to admit or deny the

              10     allegations contained in Paragraph 128 of Plaintiff’s Complaint and therefore denies the same on

              11     that basis.

              12             129.   Defendant is without knowledge or information sufficient to admit or deny the

              13     allegations contained in Paragraph 129 of Plaintiff’s Complaint and therefore denies the same on

              14     that basis.

              15             130.   Defendant denies the allegations contained Paragraph 130 of Plaintiff’s Complaint.

              16             131.   Responding to Paragraph 131 of Plaintiff’s Complaint, Defendant admits that

              17     Plaintiff informed Mr. Consiglio via text message on June 9, 2016 that she was ill and would not

              18     be working that day. Defendant is without knowledge or information sufficient to admit or deny

              19     the remaining allegations contained in this Paragraph and therefore denies the same on that basis.

              20             132.   Defendant denies the allegations in Paragraph 132 of Plaintiff’s Complaint.

              21             133.   Responding to Paragraph 133 of Plaintiff’s Complaint, Defendant admits that

              22     Plaintiff requested additional time off work but denies that Mr. Consiglio demanded that Plaintiff

              23     provide him with a new doctor’s note every three days until she came back to work. Defendant is

              24     without knowledge or information sufficient to admit or deny the remaining allegations contained

              25     in this Paragraph and therefore denies the same on that basis.

              26             134.   Responding to Paragraph 134 of Plaintiff’s Complaint, Defendant admits that Mr.

              27     Consiglio recommended Plaintiff to go to an urgent care center in June of 2016 when she

              28     informed him that she was too ill to work and could not get a doctor’s appointment until August

JACKSON LEWIS P.C.
    LAS VEGAS                                                       -13-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 14 of 23



                1    of 2016.       Defendant denies that Mr. Consiglio ordered Plaintiff to go to an urgent care.

                2    Defendant is without knowledge or information sufficient to admit or deny the remaining

                3    allegations contained in this Paragraph and therefore denies the same on that basis.

                4            135.     Defendant is without knowledge or information sufficient to admit or deny the

                5    allegations contained Paragraph 135 of Plaintiff’s Complaint and therefore denies the same on

                6    that basis.

                7            136.     Responding to Paragraph 136 of Plaintiff’s Complaint, Defendant admits that Mr.

                8    Consiglio asked Plaintiff via text message on or about June 14, 2016, “What is the diagnosis to be

                9    out a whole week?” Defendant is without knowledge or information sufficient to admit or deny

              10     the remaining allegations contained in this Paragraph and therefore denies the same on that basis.

              11             137.     Responding to Paragraph 137 of Plaintiff’s Complaint, Defendant admits that

              12     Plaintiff emailed Mr. Consiglio, Brent Jones, and Blane Jones on June 14, 2016, stating that her

              13     diagnosis was due to ADHD, Depression, & Anxiety due to a variety of work related issues.

              14     Defendant is without knowledge or information sufficient to admit or deny that Plaintiff was

              15     “feeling like she had to explain her medical situation once again,” and therefore denies the same

              16     on that basis.     Defendant denies the remaining allegations contained in Paragraph 137 of

              17     Plaintiff’s Complaint.

              18             138.     Responding to Paragraph 138 of Plaintiff’s Complaint, Defendant admits that

              19     while Plaintiff was out on a leave of absence, Mr. Consiglio asked for passwords and course files

              20     and that Plaintiff refused to provide the requested information. Defendant is without knowledge

              21     or information sufficient to admit or deny the remaining allegations contained in Paragraph 57

              22     and therefore denies the same on that basis.

              23             139.     Defendant denies the allegations contained in Paragraph 139 of Plaintiff’s

              24     Complaint.

              25             140.     Defendant denies the allegations contained in Paragraph 140 of Plaintiff’s

              26     Complaint.

              27             141.     Defendant denies the allegations contained in Paragraph 141 of Plaintiff’s

              28     Complaint.

JACKSON LEWIS P.C.
    LAS VEGAS                                                       -14-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 15 of 23



                1

                2           142.    Defendant denies the allegations contained in Paragraph 142 of Plaintiff’s

                3    Complaint.

                4           143.    Defendant denies the allegations contained in Paragraph 143 of Plaintiff’s

                5    Complaint.

                6           144.    Defendant denies the allegations contained in Paragraph 144 of Plaintiff’s

                7    Complaint.

                8           145.    Defendant denies the allegations contained in Paragraph 145 of Plaintiff’s

                9    Complaint.

              10                                    EIGHTH CLAIM FOR RELIEF

              11           Alleged Violation of Title V of the American With Disabilities Amendments Act;

              12                                        42 U.S.C. §§ 12203 et. seq.

              13                                               (Retaliation)

              14            146.    Responding to Paragraph 146 of Plaintiff’s Complaint, Defendant repeats and re-

              15     alleges each and every response made in the paragraphs above, as though set forth fully herein.

              16            147.    Defendant denies the allegations contained in Paragraph 147 of Plaintiff’s

              17     Complaint.

              18            148.    Defendant denies the allegations contained in Paragraph 148 of Plaintiff’s

              19     Complaint.

              20            149.    Defendant denies the allegations contained in Paragraph 149 of Plaintiff’s

              21     Complaint.

              22            150.    Defendant denies the allegations contained in Paragraph 150 of Plaintiff’s

              23     Complaint.

              24            151.    Defendant denies the allegations contained in Paragraph 151 of Plaintiff’s

              25     Complaint.

              26            152.    Defendant denies the allegations contained in Paragraph 152 of Plaintiff’s

              27     Complaint.

              28            153.    Defendant denies the allegations contained in Paragraph 153 of Plaintiff’s

JACKSON LEWIS P.C.
    LAS VEGAS                                                       -15-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 16 of 23



                1    Complaint.

                2           154.    Defendant denies the allegations contained in Paragraph 154 of Plaintiff’s

                3    Complaint.

                4                                    NINTH CLAIM FOR RELIEF

                5                                 Alleged Nevada State Law Violation

                6                        (Violation of NRS 613.330 – Disability Discrimination)

                7           155.    Responding to Paragraph 155 of Plaintiff’s Complaint, Defendant repeats and re-

                8    alleges each and every response made in the paragraphs above, as though set forth fully herein.

                9           156.    Defendant denies the allegations contained in Paragraph 156 of Plaintiff’s

              10     Complaint.

              11            157.    Defendant denies the allegations contained in Paragraph 157 of Plaintiff’s

              12     Complaint.

              13            158.    Defendant denies the allegations contained in Paragraph 158 of Plaintiff’s

              14     Complaint.

              15                                     TENTH CLAIM FOR RELIEF

              16     Alleged Violation of the Age Discrimination in Employment Act of 1967 – 29 U.S.C.A. § 623

              17                         (Violation of NRS 613.330 – Disability Discrimination)

              18            159.    Responding to Paragraph 159 of Plaintiff’s Complaint, Defendant repeats and re-

              19     alleges each and every response made in the paragraphs above, as though set forth fully herein.

              20            160.    Defendant admits the allegations contained in Paragraph 160 of Plaintiff’s

              21     Complaint.

              22            161.    Defendant denies the allegations contained in Paragraph 161 of Plaintiff’s

              23     Complaint.

              24            162.    Defendant denies the allegations contained in Paragraph 162 of Plaintiff’s

              25     Complaint.

              26            163.    Defendant denies the allegations contained in Paragraph 163 of Plaintiff’s

              27     Complaint.

              28            164.    Defendant denies the allegations contained in Paragraph 164 of Plaintiff’s

JACKSON LEWIS P.C.
    LAS VEGAS                                                       -16-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 17 of 23



                1    Complaint.

                2           165.    Defendant denies the allegations contained in Paragraph 165 of Plaintiff’s

                3    Complaint.

                4                                 ELEVENTH CLAIM FOR RELIEF

                5           Alleged Violation of the Fair Labor Standards Act of 1938, as amended by the

                6                     Equal Pay Act of 1963 (“EPA”), 29 U.S.C.A. §§ 206, et seq.

                7           166.    Responding to Paragraph 166 of Plaintiff’s Complaint, Defendant repeats and re-

                8    alleges each and every response made in the paragraphs above, as though set forth fully herein.

                9           167.    Defendant denies the allegations contained in Paragraph 167 of Plaintiff’s

              10     Complaint.

              11            168.    Defendant denies the allegations contained in Paragraph 168 of Plaintiff’s

              12     Complaint.

              13            169.    Defendant denies the allegations contained in Paragraph 169 of Plaintiff’s

              14     Complaint.

              15            170.    Defendant denies the allegations contained in Paragraph 170 of Plaintiff’s

              16     Complaint.

              17            171.    Defendant denies the allegations contained in Paragraph 171 of Plaintiff’s

              18     Complaint.

              19            172.    Defendant denies the allegations contained in Paragraph 172 of Plaintiff’s

              20     Complaint.

              21            173.    Defendant denies the allegations contained in Paragraph 173 of Plaintiff’s

              22     Complaint.

              23            174.    Defendant denies the allegations contained in Paragraph 174 of Plaintiff’s

              24     Complaint.

              25            175.    Defendant denies the allegations contained in Paragraph 175 of Plaintiff’s

              26     Complaint.

              27            176.    Defendant denies the allegations contained in Paragraph 176 of Plaintiff’s

              28     Complaint.

JACKSON LEWIS P.C.
    LAS VEGAS                                                       -17-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 18 of 23



                1

                2                                       DEMAND FOR JURY TRIAL

                3              177.   Defendant avers that Paragraph 177 of Plaintiff’s Complaint does not call for a

                4    response from Defendant.

                5                                          PRAYER FOR RELIEF

                6              Defendant denies the allegations contained in the Prayer for Relief in Plaintiff’s

                7    Complaint to the extent they are asserted against Defendant, and further denies Plaintiff is entitled

                8    to any damages, interest, punitive damages, attorney's fees and costs or any other relief.

                9                                           GENERAL DENIAL

              10               To the extent not specifically admitted herein, the allegations of the Complaint are hereby

              11     denied.

              12                                        AFFIRMATIVE DEFENSES

              13               Without assuming the burden of proof as to any of the following defenses where the law

              14     does not impose such burden on Defendant, Defendant asserts the following defenses:

              15               1.     Plaintiff's Complaint fails to state a claim upon which relief may be granted.

              16               2.     To the extent applicable, each and every allegation made by Plaintiff is time

              17     barred.

              18               3.     To the extent applicable, Plaintiff's claims are barred by virtue of the doctrines of

              19     waiver, laches, estoppels, and unclean hands.

              20               4.     To the extent applicable, one or more of Plaintiff's claims are barred due to her

              21     failure to exhaust administrative remedies.

              22               5.     Plaintiff has suffered no damages as a result of any claim contained in the

              23     Complaint.

              24               6.     To the extent applicable, Plaintiff's damages are diminished in whole or in part by

              25     virtue of her failure to mitigate damages.

              26               7.     Any alleged damage suffered by Plaintiff was in no way caused by, or the result

              27     of, any fault, act or omission by Defendant, but was caused by circumstances, persons, and/or

              28     entities for which and/or by whom Defendant is not and may not be held responsible, including

JACKSON LEWIS P.C.
    LAS VEGAS                                                         -18-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 19 of 23



                1
                     Plaintiff, and for which Defendant cannot be held liable.
                2
                            8.      The damages sustained by Plaintiff, if any, were caused by her own acts and/or
                3
                     omissions and not those of Defendant.
                4
                            9.      If Plaintiff is adjudged to be entitled to any recovery, then Defendant is entitled to
                5
                     a set-off for any compensation, including without limitation to, unemployment compensation,
                6
                     wages, salaries, and/or social security payments received by Plaintiff.
                7
                            10.     Defendant has breached no duty owed to Plaintiff under state or federal law.
                8
                            11.     Plaintiff's claims are barred in that Defendant's actions were a just and proper
                9
                     exercise of management discretion, undertaken for a fair and honest reason regulated by good
              10
                     faith under the circumstances then existing.
              11
                            12.     Plaintiff's claims fail because any employment actions taken with respect to
              12
                     Plaintiff were taken for lawful, non-discriminatory and non-retaliatory causes and reasons.
              13
                            13.     Defendant alleges it exercised reasonable care to prevent and promptly correct any
              14
                     discriminatory, harassing and/or retaliatory behavior and that Plaintiff unreasonably failed to take
              15
                     advantage of any preventative or corrective opportunities provided by Defendant.
              16
                            14.     Defendant alleges that it instituted and enforced a proper and/or effective anti-
              17
                     discrimination/harassment policy and Plaintiff failed to timely complain.
              18
                            15.     Defendant alleges that if the actions of its former or current employees are found
              19
                     to be wrongful in any way, then those actions cannot be attributed to Defendant under theories of
              20
                     respondeat superior or vicarious liability.
              21
                            16.     In the event that it is concluded that a prohibited factor motivated any act alleged
              22
                     by Defendant against Plaintiff, the same acts would have been undertaken even absent said
              23
                     alleged improper or discriminatory motive and, as such, Plaintiff is not entitled to any relief.
              24
                            17.     Plaintiff's claims are barred because any alleged acts committed by Defendant
              25
                     were done for legitimate, non-discriminatory business causes and reasons.
              26
              27

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                        -19-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 20 of 23



                1

                2
                            18.     At all relevant times Defendant acted reasonably, for cause and/or in good faith
                3
                     toward Plaintiff and has not violated any rights which may be secured to her under the Title VII,
                4
                     the Americans with Disabilities Act, the Age Discrimination in Employment Act, and/or Nevada
                5
                     law.
                6
                            19.     Plaintiff's claims are barred to the extent she is not "disabled" as that term is
                7
                     defined by the ADA and Nevada law.
                8
                            20.     Plaintiff’s claims are barred to the extent that she is not a “qualified person with a
                9
                     disability” as defined by the Americans with Disabilities Act and Nevada law.
              10
                            21.     Plaintiff’s damages are limited by any applicable statutory cap, including, but not
              11
                     limited to, the statutory cap set forth in 42 U.S.C. § 1981(a).
              12
                            22.     Plaintiff’s claims are barred in whole or in part because any failure by Defendant
              13
                     to accommodate Plaintiff’s purported disability or to engage in the interactive process to ascertain
              14
                     which, if any, accommodations were reasonable was caused by Plaintiff’s failure to participate in
              15
                     the process, notwithstanding Plaintiff’s ample opportunity to do so without retaliation. Therefore,
              16
                     any alleged failure by Defendant to engage in an interactive process or to make reasonable
              17
                     accommodations was caused by Plaintiff’s conduct and Plaintiff is thus barred from recovering
              18
                     based on the equitable doctrines of waiver, estoppel and unclean hands.
              19
                            23.     Plaintiff's claims are barred, in whole or in part, because Defendant satisfied
              20
                     and/or discharged its duty to engage Plaintiff in good faith interactive discussions to determine
              21
                     the availability of effective reasonable accommodations.
              22
                            24.     On information and belief, Plaintiff's claims are barred, in whole or in part,
              23
                     because granting the accommodation(s) Plaintiff sought or desired would have posed an undue
              24
                     hardship on Defendant's business operations.
              25
                            25.     To the extent any disparity existed in Defendant's employees' pay, such disparity
              26
                     was based on one or more of the following factors:
              27
                                            (a) a seniority system;
              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                         -20-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 21 of 23



                1                             (b) a merit system;

                2                             (c) a pay system based on quantity or quality of output; and/or
                3                             (d) any factor other than sex.
                4
                            26.       Plaintiff has failed to allege facts sufficient to justify an award of attorney's fees.
                5
                            27.       Defendant alleges that upon information and belief, after-acquired evidence bars
                6
                     and/or limits the amount of damages Plaintiff can recover on her claims, if any.
                7
                            28.       Defendant alleges that punitive damages constitute excessive fines prohibited by
                8
                     the United States and the Nevada Constitutions. The relevant statutes do not provide adequate
                9
                     standards or safeguards for their application and they are void for vagueness under the due
              10
                     process clause of the Fourteenth Amendment of the United States Constitution and in accordance
              11
                     with Article I, Section 8 of the Nevada Constitution.
              12
                            29.       Plaintiff fails to assert a claim for which Injunctive Relief may be granted as
              13
                     Plaintiff fails to show a likelihood of success on the merits, threat of irreparable harm, the balance
              14
                     of equities does not favor Plaintiff, and an injunction will not serve the public interest; rather,
              15
                     Plaintiff seeks an injunction for an award of back pay, benefits, and reinstatement or in the
              16
                     alternative front pay, solely for himself arising from the termination of his employment more than
              17
                     two years ago.
              18
                            30.       Pursuant to Federal Rule of Civil Procedure 11, all possible affirmative defenses
              19
                     may not have been alleged herein insofar as sufficient facts were not available after reasonable
              20
                     inquiry upon the filing of Plaintiff’s Complaint, and therefore, Defendant reserves the right to
              21
                     amend its Answer to Plaintiff’s Complaint to allege additional affirmative defenses, if subsequent
              22
                     investigation so warrants.
              23
                            WHEREFORE, Defendant prays as follows:
              24
                            1.        That Plaintiff take nothing by way of his Complaint;
              25
                            2.        That Plaintiff’s Complaint be dismissed with prejudice in its entirety and judgment
              26
                     entered in favor of Defendant;
              27
                            3.        That Defendant be awarded its attorneys’ fees and costs; and
              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                           -21-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 22 of 23



                1          4.      That the Court awards Defendant any such other and further relief as it deems

                2               proper.

                3          Dated this 17th day of January, 2017.

                4                                                         JACKSON LEWIS P.C.

                5
                                                                          /s/ Phillip C. Thompson
                6                                                         Deverie J. Christensen, Bar No. 6596
                                                                          Phillip Thompson, Bar No. 12114
                7                                                         3800 Howard Hughes Parkway, Suite 600
                                                                          Las Vegas, Nevada 89169
                8                                                         Attorneys for Defendant HRHH Gaming
                                                                          Senior Mezz, LLC
                9

              10

              11

              12

              13

              14

              15

              16

              17

              18

              19

              20
              21

              22

              23

              24

              25

              26
              27

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                      -22-
                     Case 2:16-cv-02684-JAD-VCF Document 9 Filed 01/17/17 Page 23 of 23



                1                                       CERTIFICATE OF SERVICE

                2             I hereby certify that I am an employee Jackson Lewis P.C. and that on this 17th day of

                3    January, 2017, I caused to be sent via ECF filing, a true and correct copy of the above and
                4    foregoing ANSWER TO COMPLAINT to the following:
                5
                     Attorney for Plaintiff
                6
                              Joseph A. Gutierrez
                7             MAIER GUTIERREZ AYON
                              8816 Spanish Ridge Avenue
                8             Las Vegas, Nevada 89148

                9             Attorneys for Plaintiff

              10                                                          /s/ Kelley Chandler
                                                                          Employee of Jackson Lewis P.C.
              11

              12
                     4837-3220-0000, v. 2
              13

              14

              15

              16

              17

              18

              19

              20
              21

              22

              23

              24

              25

              26
              27

              28
JACKSON LEWIS P.C.
    LAS VEGAS                                                      -23-
